               Case 1-19-01108-cec                       Doc 15         Filed 12/04/19        Entered 12/04/19 15:43:04




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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IN RE:

EARL RASHEED DAVIS,                                                        Chapter 11

                                    Debtor.                                Case No. 18-40766 (cec)
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EARL RASHEED DAVIS and JCR PARTNERS, LLC,

                                   Plaintiffs,                             Adv. Proc. No. 19-01108 -(cec)   Formatted:/HIW
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                 -against-

LAKISHA HAWTHORNE, ELAINE BROWN, and
NEW YORK CITY HOUSING AUTHORITY,

                                    Defendants.
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        PLAINTIFFS’ OBJECTION TO DEFENDANT HAWTHORNE’S REPLY
   IN FURTHER SUPPORT OF HER PRE-ANSWER MOTION TO DISMISS OR FOR
                              ABSTENTION

          Plaintiffs Earl Rasheed Davis and JCR Partners, LLC, object to arguments and relief

requested for the first time in Defendant Lakisha Hawthorne’s (“Hawthorne”) reply (DE # 14) in

further support of her motion (DE ## 7, 8) for an order dismissing the Complaint (DE # 1) in this

adversary proceeding under Bankruptcy Rule 7012 (Fed. R. Civ. P. 12[b][6]) or for abstention.

The following arguments are all raised for the first time in Hawthorne’s reply and therefore should

not be considered:

          1.     Point C: The Rooker-Feldman doctrine;

          2.     Point D: Res judicata and collateral estoppel;

          3.     Point E: Request for an injunction against Plaintiff Davis’s prosecution of this

action.




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       Should the Court nonetheless decide to consider Hawthorne’s belated arguments, Plaintiffs

request leave and ten days to submit a sur-reply.

Dated: December 4, 2019

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                                                      Attorneys for Plaintiffs

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